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                          UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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      ROBERTO CASTRO-VERDUGO,                    Case No. 5:20-cv-02260-MCS (SHK)
 11
 12                           Plaintiff,
                         v.
 13                                              JUDGMENT
 14   RALPH DIAZ, et al.,
 15
                              Defendants.
 16
 17
 18        Pursuant to the Order Dismissing Case, IT IS HEREBY ADJUDGED that
 19   the case is DISMISSED without prejudice.
 20
 21
      Dated: November 15, 2021
 22                                  HON. MARK C. SCARSI
                                     United States District Judge
 23
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 28
